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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                   )
UNITED STATES OF AMERICA,          )
                                   )
            Plaintiff,             )
                                   )
VS.                                )                 CR. NO. 1:17-10067-STA-1
                                   )
KEVIN SMITH,                        )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on February 6, 2018, Assistant United States Attorney, Taylor
Eskridge, appearing for the Government and the defendant, Kevin Smith, appearing in person, and with
counsel, Mark Donahoe.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, MAY 29, 2018 at 10:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 6th day of February, 2018.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
